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                       FO R TH E W E STE RN D IST M CT O F W RGIN IA              0CT 19 2212
                              H ARRISO N BU RG D IW SION                      JUL     .   D L&rGLERX
                                                                             BK       e
     O 'SULLIVD        FILM S, IN C.                                                DEPUW CLEQ'<

          Plaintiffy                              Case.N o.5:17-cv-00031

     V.

     DAW D N E AVE S,                             By:    V chaelF.U rbansld
                                                  ClziefUited StatesDisttictJudge
             D efendant.


                               M EM O RAN D U M O PIN IO N

          W hen D efendantD avid N eavesstarted hisem ploym entwith PlaindffO 'Sullivan

  Films,Inc.(Tfo'sullivan''l heagreedtoalimitednoncompeteagreement(the
  TfNoncompete'')with O'Sullivan.Neavesconcedesthathehaswillfullyviolated theterm sof
  the N oncom pete,butinsiststhatthe N oncom peteisinvalid underVitginialaw.O 'Slxllivan

  disagzeesand asksthe courtto enforcetheN oncompete.

          Thism attercom esbeforethecourtseveralm odons.O 'Sullivan hasfled aM otbn

  forSummaryludgmentttheffo'sullivan Modon'l,ECF No.50.NeaveshasflledaModon
  forSllmmaryludgmentRegardingtheEnfotceabilityoftheNon-compete(theffNeaves
  EnforceabilityM oéon'),ECF No.54,andaModon fozSlzmmaryludgmentRegarding
  DamagesttheTfNeavesDnmagesModon'),ECFNo.55.Forthereasonsdescdbedbelow,
  the O 'Sullivan M otbn willbe GRAN TED in partand D EN IED in part,theN eaves

  EnforceabilityM odon willbe D EN IED ,and theN eavesD am agesM oéon willbe

  GM N TED in partand D EN IE D in patt.




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                                  Summ aryJudgm entStandards
        PursuanttoRule56(a),thecout'tmustffgrantslpmmaryjudgmentifthemovant
  showsthatthere isno genuine clispute asto any m aterialfactand the m ovantisendtled to

  judgmentasamatteroflam ''Fed.R.Civ.P.56(a);CelotexCo .v.Catretq477U.S.317,
  322(1986);G1nnv.EDO Cor .,710F.3d209,213(4thCir.2013).W henmakingthis
  detetm inaéon,thecolzrtshould considqrf<thepleaclings,deposidons,answetsto

  interrogatories,and admissionson ftle,togetherwith ...(anyjaffdavits''ftledby thepnt-ries.
  Celotex,477 U.S.at322.W hethera factism atezialdependson therelevantsubstandvelaw .

  Andersonv.LibertyLobby,lnc.,477U.S.242,248(1986).ffonlydisputesoverfactsthat
  rrlightaffectthe outcom e ofthe suitunderthegovetning 1aw willproperly precludetheentty

  ofsummaryjudgment.Factualdisputesthatareirrelevantorunnecessarywillnotbe
  counted.''Lda(citaéon omitted).Themovingpattybearstheinidalburdenofdemonstradng
  the absence ofagenuine issue ofm aterialfact.Celotex,477 U.S.at323.Ifthatburden has

  been m et,the non-m oving pazty m ustthen com e forward and establish the specihc m atedal

  factsin disputeto sutvivesummaryjudgment.MatsushtaElec.Indus.Co.v.Zenith Radio
  C-IJ.
  .   IP..,475U.S.574,586-87 (1986).
         In detetm ining whethetagenlpineissueofm atetialfactexists,thecotutview sthe

  factsand clraw sallreasonableinferencesin the lightm ostfavorable to the non-m oving

  pazty..
        G1pqn,710F.3dat213 (cidngBondsv.Leavitq 629F.3d 369,380 (4th Cir.2011)).
  Indeed,ffgijtisan faxiom thatin tqlling on amodon forsummaryjudgmentatheevidenceof
  thenonmovantistobebelieved,andalljuséfiableinferencesareto bedrawninhisfavon'''
  McAidaids Inc.v.Kimberl-cla.
                             rk Co .,756F.3d 307,310(4th Cir.2014)(internal


                                       2
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  altetadonomitted)(cidngTolanv.Cotton,134S.Ct.1861,1863(2014)@ercuriaml).
  M oreover,Tflcjreclibilitydeterminadons,theweighingoftheevidence,and thedrawing of
  legitimateinferencesfrom thefactsarejuryfuncdons,notthoseofajudge.''Anderson,477
  U .S.at255.The non-m oving patty m ust,however,ffsetforth specihcfactsthatgo beyond

  theTmereexistenceofascintillaofevidence.'''G1lm,710F.3dat213(quodngAnderson,
  477U.S.at252).Instead,thenon-movingpartymustshow thatTftheteissufhcientevidence
  favoringthenonmovingpartyforajuryto return averdictforthatpartp''Res.Bankshares
  Co .v.St.PaulMerc Ins.Co.,407F.3d631,635(4thCir.2005)(quodngAnderson,477
  U.S.at249).ffln otherwords,tograntslnmmaryjudgmentthegclourtmustdetetminethat
  noreasonablejuty couldfindforthenonmovingpartyontheevidencebefoteit.''Mossv.
  ParksCo .,985F.2d 736,738(4th Cit.1993)(quodng PeriniCo .v.PeriniConstr.Inc.,
  915F.2d 121,124 (4th Cir.1990)).
                                      II. B ackground

         The factsin thiscase areundisputed.PlaindffO 'Sullivan Film s,Inc.isa m anufactlltet

  ofardfkialleather,wllich itsellsto the autom otive industry,am ong otherclients.

  DeclatadonofRichardJ.Till(fCTillDecl.'),ECFNo.60Ex.A,!1.O'Sullivansellsovet$17
  m illion in nrfificialleathetpzoductsannually,and its:nancialitw es% entin m achinery,

  equipment,and tradesecretsisgreatetthan $20million..
                                                     J.
                                                      da!! 5-6.O'Sllllivan'sautomobile
  businessistatgeted to m anufactutersin theU nited States,M exico,and Canada.D eposidon

  ofScottlc ueger,ECF N o.60 Ex.B.,at10:2-9,11:20.

         DefendantD avid Neaveswashiredby O'Sullivan inlune2013andworkedO ough
  D ecem ber2016.N eavesfttstworked asaN ew ProductD evelopm entChemistin Ardhcial



                                                3
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  Leather,andthenwaspromotedtoArdfkialLeatherFilm R&D Manager.TZ Decl.!!2-3.
  Asarequitementofhisemploymentwith O'Sullivan,onlune17,2013,Neavesenteredinto
  aConfidentialInformaéon,Invendon,and Non-solicitation Agreement(theffAgreement'),
  ECF N o.60 Ex.C,with O 'Sullivan.TheAgreem ent,including theN oncom pete,is

  goveznedbyVitginialaw.Agzeement!19.
         Paragraph 8 oftheAgteem entcontainstheN oncom pete:

         For one yeatafter my em ploym entwith O'Sullivan ends,eithervoluntntily or
         forcause,Iagree thatlwillnot(a)sell,attemptto sell,or assistothetsin
         selling orproviding productsor services in com pedtbn with the Business of
         O'Sullivan attheRestdcted Contacts;ot(b)help,financiallyorotherwise,any
         person or endty to com pete with the Business of O 'Sullivan by using or
         contacting theRestdcted Contacts.

  Id.! 8.fflkesttictedContacts''isdefmed as:
         actazal and potendal custom ezs, agents, distributors, vendors, business
         pnt'tners, and persons or enddes thato duting the tv o years before m y
         employm entwith O 'Sullivan ends,I had direct contactwith or that I had
         indirect contact with, including indirect contact by suppotdng or being
         responsible for the acdvities of other O 'Slzll1
                                                        'van employees who had ditect
         contactwith the Restdcted A ccounts.

  J-daAdditionally,theffBusinessofO'Sullivan''isdefmed asffthedevelopm ent,
  m anufacnlting,m arkedng,and sale ofplasdc engineered film scom pounds,serdcesrelated

  to thismarket,and othetbusinessthatO'Slxllivan engagesin dlntingmyemploym ent.''J.I
                                                                                    .L

  !(2.
         Further,N eaves

         acknowledgegdj and agreegdj thatthe informadon,including the idendty and
         size ofand the contactinfotvnadon atthese Restricted Contacts and sim ilar
         inform adon that O 'S'nllivan has obtnined about other actual and potenéal
         customezs,agents,distdbutors,vendors,business partners Lsic! atany time
         consdtutesO 'Slxllivan'sConhdendalInfotvnadon.

  Lda!J8.TheAgreementdefinesffconhdenéalInformadon''as:

                                       4
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        any kind ofinformadon thatisnotknown by the genetalpublic.Itincludesall
        doclzm entsoritem sthatreflectwhatIhave done with,orthoughtabout,the
        Conûdendal Inform adon ....Confidendal Infotmadon includes,butis not
        limited to,technicalinfotmadon (such as formtzlas,trade secrets,itwentions,
        and designs);financialinfotvnadon (such asptojecdons,fotecasts,budgets,
        and plans); and business and manufacnlting informadon (such as plans,
        stzategies, pzocesses, com pedéve analyses, and lists and info= adon about
        customers, potendal customers,vendors,and employees).AII Confidenéal
        lnfot-m ation is rotected b thisA eem entre ardless ofhow itislearned b
        m e ordisclosed to m e.

  Id.! 1.
        Finally,Patagtaph 12oftheAgreementprovidesforbothinjuncdvezeliefandfee
  shifdng should N eavesviolate any partoftheA gteem ent:

        lagreethattheremediesavailableatlaw forbreach ofmy oblkadonsundet
        this Agreem ent m ay be inadequate and that O 'Sullivan willneed im m ediate
        reliefto protectitsrightsunderthisAgreem ent.Iagzee that,in addidon to any
        rightsand rem edies available to O 'Sullivan atlaw or in equity,tem pozary and
        permanentinjuncdve reliefmay be gtanted in any proceecling broughtto
        enfotce m y obligaéons under this Agreem ent,without the need to ptove
        actualdam age.I agree thatI willbe responsible fot allattorneys'fees,costs,
        and expensesincutred by O 'Slxllivan by reason of any acdon reladng to tllis
        Agreem ent,and thatO 'Sullivan willbe enétled to such addiéonalreliefthata
        cout'tdeem sappropriate.                                             '

  Id.!12.
        In N eaves'variouspositions,hereO ed O 'Slpllivan'snt-rilkialleather.D eposidon of

  DavidNeavesrfNeavesDep.''),ECFNo.60Ex.D,50:14-17.Neavesalsohad
  managementresponsibilityovermorejuniornt-rifkialleatherresearch and development
  em ployees.1d.68:14-65:7.According to O 'Sullivan,and notdisputed by N eaves:

        N eaveshad accessto the chem icalform ulasused by O 'Sullivan foritsatdhcial
        leather, constantly refined O 'Slxll1
                                            'van's ardficial leather products, and
        perform ed hisow n testing and superdsed tesdng ofO 'Sllll1'van's products to
        improve perfo= ance. Neaves Dep. 28:11-14. He made adjus% ents to
        fotvntzladonsforczents,N eavesD ep.34:20-35:4,and drafted instrucdonsand
        tese g plansforllissuborclinates.N eavesD ep.39:8-11.


                                       5
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  O'SullivanMSJBr.9.
        N eavesadm itted thatthe autom odve com panieshew orked and comm unicated with

  whileatO'Sullivanincluded Tesla,GeneralMotors(f<GM') and Chrysler.NeavesDep.
  59:1-5.In pardclalar,N eaveshad prim ary responsibility for O 'Sullivan'sattem ptto win a

  GM pzojectnamedPINKAD.Lt.
                          la109:21-110:3.Additionally,Neaves,thtoughO'Sllllivan,
  worked asasubcon'ttactorforFord on certain artfcialleatherproducts.Lda79:5-7.Under

  Paragraph 8 oftheAgreem ent,Tesla,GM ,Chrysler,and Ford are fflkestricted Contacts''to

  which theN oncom peteapplies.

         OnDecember12,2016,NeavestesignedhisposidonatO'Sullivan.O'SullivanMSJ
  Br.12.H einform ed O 'Sullivan thathe had accepted aposition asD itectorofResearch and

  DevelopmentwitllnonpartyUniroyalGlobalEngineering,Inc.tffunitoyal''l.LdaUniroyal
  also m anufacturesartificialleatherforthe autom odveindustry,and,assuch,isa direct

  competitorofO'Sullivan.Li;D eposidon O 'Stzllivan Film sByandThtough ItsDesignated

  RepresentadveScottIc uegerrfo'sullivan 30q$(6)Dep.''),ECFNo.60Ex.B,at16:15-229
  Uniroyal2017 10-1< AnnualReport,ECF N o.60 Ex.K.11 pardctzlar,Uniroyal'stwo largest

  clientsareFotd and G M .ListofGlobalOEM SServed,U niroyalG lobalEngineered

  Productsylanuary2017,ECF No.60Ex.J,at1-2.
         NeaveshasbeenheavilyinvolvedinthePINKAD projectforUniroyal- thesame
  projectforwbich heheldprimatyresponsibilityatO'Slxllivan.D ef.'sAnswersP1.'s
  Interrogs.,ECF N o.60 Ex.L,atN o.7.M oreover,an em ailshow sthatwhile atUniroyal,

  N eaveshashad contactwith ChrisdnaH cks,iliscontactwith GM atO 'Suzivan.Em ailfrom




                                                 6
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  D .N eavesto C.J'
                  Iicksdated Septem ber27,2017,ECF N o.60 Ex.N .N eavesalso perform s

  som e work atUniroyalforFord.O 'Sullivan M ot.Br.13.

                         111.   Enforceability ofthe N oncom pete

        Thepardeshave sled dueling m odonson theenfotceability ofthe N oncom pete.A s

  discussed below,thecouttfm dsthattheN oncom pete com portswith Vitginia 1aw and is

  fully enforceable.

                                              A.

        In Virginia,ffrestricdve covenantsaredisfavored restrnintson ttadey''and as such,the

  validity ofanoncom peteisathreshold question.See Om ni 1ex W orld Servs.Co .v.U.S.

  Inves; adonsSews.Inc.,270Va.246,249,618S.E.2d340,342 (2005).W hethera
  defendantbteached anoncom pete becom esm ootifthenoncom peteisitw alid and

  unenforceable.See H om eParam ountPestControlCos.v.Shaffer,282 Va.412,420,718

  S.E.2d762,766(2011)(ffBecausewehavefoundthecitcuitcourtdidnoterrinnxlingthe
  Provision unenforceable,H om ePatam ount'sevidenceofShaffet'sact'ualbreach wasnot

  relevant').
        The Suprem e CourtofVirginiahasins% cted courtsto enforce noncom pete

  agreem entsonly ffifthe contractisnarrowly dtawn to pzotectthe em ployer'slegitim ate

  businessinterest,isnotunduly burdensom e on the em ployee'sability to earn a living,and is

  notagainstpublicpolicp''Omni1exW orld Servs.,270Va.at249,618S.E.2d at342.ffrllhe
  em ployerbearstheburden ofproofand any am biguitiesin the conttactwillbeconstm ed in

  favoroftheem ployee.''Id.




                                       7
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        Nonetheless,acourtcannotadjudicatetheenforceabilityofanoncompetein a
  factualvacullm .A ssutanceD ata lnc.v.M alevac,286 Va.137,144,747 S.E.2d 804,808

  (2013).A cotzrtshould ffconsidettheffuncdon,geographicscope,andduradon'elementsof
  the restricdon.''H om eParam ountPestControl,282 V a.at415-16,718 S.E.2d at764

  (quodngSimmonsv.Miller,261Va.561,581,544S.E.2d666,678(2001)).Tvheseelements
  arefconsideredtogether'ratherthan<astllreeseparateanddisdnctissues.'''Id.(quodng
  Simmons,261Va.at581,544 S.E.2d at678).Assuch,asinglefactorthatmaybeotherwise
  unreasonable could be ffreasonable asconstrued in lightoftheother > 0.':Cantol,Inc.v.

  McDaniel,No.2:06CV86,2006W.
                            L 1213992,at*4(E.D.Va.Apt.28,200$.
        Theftmcdon elementexapineswhetherthenoncompeteffrestdctgs)compeddon by
  determirling whetherthe prohibited acdvityisofthe sam e typeasthatactually engaged in by

  the form erem ployer.''H om eParam ountPestControl,282 V a.at416,718 S.E.2d at764.

  dfyjalidprovisionsprohibit(anemployeefrom engagingin activitiesthatactuallyor
  potentially com petewith the em ployee'sfot-merem ployer.'''1d.at417,718 S.E.2d at765

  (quoéng Omni lex,270Va.at249,618S.E.2dat342).W hen anoncompeteffseeksto
  prolzibitga)form eremployeeqfrom wotkingforgtheformeremployer's)compedtorsin any
  capacity,gthefotmeremployerqmustprovealegitimatebusinessinterestfordoingso.''Id.at
  417-18,718 S.E.2d at765.

        ffrllhegeographcscopeofacovenantnotto competemustbereasonablylimited.''
  SpecialtyM arkedng,Inc.v.Lawrence,N o.CL09000928-00,80 V a.Cir.214,2010 W L

  7375616,at*3 (Va.Cir.Ct.Mar.11,2010).Nonetheless,theabsenceofageograpllic
  lim itaéon isnotfatal.SeePreferted S s.Sols.Inc.v.GP Constzlén LLC,284V a.382,394,



                                       8
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  732S.E.2d676,682(2012)(ffThelackofaspeciûcgeographiclimitationisnotfataltothe
  covenantbecausethenoncompeteclauseissonarrowlydtawntothispnttictzlarprojectand
  thehandfulofcompaniesin directcompeddon withPSS.'');Brainware,lnc.v.Mahan,808
  F.Supp.2d820,827(E.D.Va.2011)rfAlthoughtheabsenceofageogtaphicallimitadon
  m ustbe considezed in evaluadng whethezanon-com pete provision isenfozceable,thelack

  ofsuch alimitadon doesnot,initself,renderthenon-competepzovision unenforceable.'l;
  fr.
    i M anTech Int'lCo .v.Analex Co .,No.(21,-2008-5845,75Va.Cir.354,2009W L

  6759967,at*2(Vk.Cit.Ct.July18,2008)(noéngthatffthelackofageograpllicallimitadon
  isnotin itselffatal,''butitw alidadng the noncom petebecause itTfcontainsno lim itadons''at

  al1);butseeStrate 'cRes Inc.v.Nevin,No.1:05CV992 GCC),2005WL 3143941,at*3
  (E.D.Va.Nov.23,2005)(pre-preferred S stemsSolutionscasefincling thatanoncompete
  thatdidnothaveageograplùclimitaéonwasperseunreasonable).Instead,cout'tsffmust
  considertogethertheintended function ofthe agreem entand itsdlzradon asw ellaswhether

  itcontainsageogtaplaic lim itadon.''M atket*Accesslnt'l,Inc.v.KM D M edia,LLC,72 V a.

  Cir.355,2006R 3775935,at*3(Vk.Cit.Ct.Dec.14,2006).
                                                      B.

            N eavesarguesthattheN oncom pete failstwo ofthe three elem entsin therequired

  noncompete analysis:ftm céonallim itadonsand thegeograpllic scope.l



  1N eavesdoesnottakeissuewith the N oncom pete'sone-yearduzadon,nordoesthe com tperceive anylegalissueswitlz
  theduradon.SeePreferredS s.Sols.,284Va.at394,732S.E.2dat681(holdingthataoneyearnoncompetewas
  ffnarrowl
          ydrawn'');Tradestaff& Co.v.No 'ec,No.CL08-1512,77Va.Ciz.77,2008WL 8201050,at*3(7k.Cir.Ct.
  Sept.4,2008)tfrvirginiacourtswilltypicallyenforcecovenantsofuptotwoyears....
                                                                             ''
                                                                              );Devnew v.Ra shi G .Ltd.,
  No.CH05-3173,75Va.Cir.436,2006WL 6345732,at*7(Va.Cir.Ct.Dec.29,2006)tXldl      'ngatwo-yearte=
  zeasonable).Moreover,ashorterdtuadoncaninform thereasonablenessofthegeographicscopeand6lncdon
  componentsofanoncompete.SeeAdvancedM ar.Enters..Inc.v.PRC.Inc.,256Va.106,119,501S.E.2d 14% 155-56
  (1998).

                                                        9
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                                       FunctionalLim itations

          N eavescontendsthatthe funcdonallim itadonsin theN oncom peteate overbroad.In

   pnrticular,N eavesarguesthatwhile he worked only asachemistforO 'Sullivan,the

   N oncom pete ffprolùbitsa m uch broaderrange ofacdvities:he shallnotTsell,attem ptto sell,

   orassistothersin selling otproviding products'otfhelp,hnancially orotherwise,any person

   orentityto compete'with O'Sullivan.''Def's.M em.Law Supp.M ot.Summ.J.Regarding
   EnforceabilityNon-competerfNeavesEnforceabilityMot.Br.?),ECF No.63,at7(quodng
  Agteement!8.).
          N eavesm ainly takesissue with thelanguageheportraysasthesecond clauseofthe

   Noncompete:ffhelp,financiallyorotherwise,anyperson orendtyto compete.''LdaNeaves
   cbim sthatthç second clause ffcould coverany m annerofThelp'v sw eeping the floors,

  working in theaccoundng departm ent,m aintaining theplantfaciH es,providing legal

   services,stocldng the em ployee kitchen,in addiéon to being achenlist.''Id.

          Neaveswouldhavethiscourtapplythetjanitortest7':Tflfaclauseissobroadasto
   prohibitw ork itw olving em ptying tzash foracom petitor- so long asthey did notwork asa

   jazlitorattheirpriorjob- thentheclauseisunenforceableandvoidasamatteroflam ''Id.
   at8(citingRoto-DieCo.v.Lesser,899F.Supp.1515,1520(W .D.Va.199$).
          N otably,however,N eavesreadsoutqualifying languagein theN oncom pete,which

   language readsin 6:11:

          I willnot (a)sell,attempt to sell,or assist others in selling or provicling
          products or serdces in com peddon with the Business of O 'Slall1
                                                                         'van at the
          Restticted Contacts;or$)help,fmancially orotherwise,anyperson orendty
          to com pete with the Business of O 'Sullivan by using or contacdng the
          Restdcted Contacts.



                                                 10
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  Agteement!8.
         Theonlyreasonablewaytoreadpart(b)issothatthepluasef%yusingorcontacting
  theRestdcted Contacts''m odihesffhelp,financially orotherwise.''Thephzase ffby using or

   contacdng theRestricted Contacts''doesnotm ake senseifitm odihesffany petson orenéty

  to com petewith the BusinessofO 'Sullivan.''Consequently,theonly way thatN eavescould

  violatepatt(b)isbyusing orcontacéng theRestticted Contactsto help anotherendty
   com petewith theBusinessofO 'Slxllivan.

         Tllisintemzetadon defeatsNeaves'appealto ajarzitoztest.Thecoutthndsitdiffklzlt
   toimagineanyscenarioinwhichajanitorwouldbecontacéngtheRestdctedContactsand
  ttying to com petewith O 'Sullivan unless,asO 'Sullivan aptly states,ffsuch em ploym entw ete

  a sham effortto obscureditectcom peddon,w llich the clausew otzld prevent.''P1.'sM em .

   Opp.Def.'sMot.S11mm.J.RegarclingEnforceabilityNon-compete,ECF No.67,at10.
  Instead,the courtholdsthattheN oncom pete isnatrowly tailored so thatN eavesisonly

  precludedfrom engaginginemploymentwherehe(1)worksinafieldthatisdirectly
   compeddvewith O'Sullivan,and (2) furthetsthatemploymentbyexploie gllistelaéonsllip
  with O 'Sllllivan'scEents.

          Similarly,NeavestakesissuewiththeTfassisdngothers''languageofpart(a).Likewith..
   laisargumentaboutpazt(b)oftheNoncompete,Neavesclnimsthatpart(a)pzohibitshim
   from w orking in theartificialleathercapacity even indirectly.N eavesEnforceabilityM ot.

  Br.8 (quodng HomeParamount,282Va.at418,718S.E.2dat765).Butagnin,Neavesreads
   outthe qualifying language ffwith theBusinessofO 'Sullivan attheRestricted Contacts.''

  Nothingin part(a)oftheNoncompetepreventsNeavesfrom wotkingin theardficial


                                       11
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  leatherindustry---even in reladon to the autom obileindustry- aslong aslliswork isnot

  related to theRestricted Contacts,which theevidenceshowsislim ited to aselectgtoup of

  autom obile m anufacturets.

         In sum ,the couttholdsthatthe funcdonallimitaéonsin theN oncom pete,ded as

  they are to theRestticted Contacts,are narrowly tailoted to pzotectthelegitim ate business

  interestsofO 'Sullivan.

                                  2.     GeograpM c Scope

         N eavesalso com plainsaboutthelack ofgeograplnic scopein theN oncom pete.

  Neaves'atgumentdistillsdown to onesentence:rfl'helackofanygeographicscopein (the
  Noncompetej,which extendsto placesaround theworldwhereO'Se van hasno legitimate
  businesspurpose in suppressing com petidon,rendersitoverbroad and unenforceable.''

  N eavesEnfozceabilityM ot.Br.6.

         O fcourse,theabsenceofgeogtaphic scopein theN oncom peteisnotdisposidve.

   See Brninw are,808F.Supp.2d at8279Preferred Sys.Sols.,284 Va.at394,732 S.E.2d at

   682.Brainware,Inc.v.M ahan isinstructive.In Brainware,thecourtfound anoncom pete

   thatclid notcontain ageogzapllic lim itadon wasstillvalid.Brainwarewasa sm allcom pany in

   anichem azketwith aglobalzeach.The com pedng businessatw laich the form erem ployee

  wozkedwasanothermajorplayerinthatsmall,nichemarket.Thenoncompete'sfuncdonal
   lim itadonswere narrowly to ored.

         A sdiscussed in thebackground secdon,O 'Sullivan isin m uch the sam eposidon as

  wasBrainware.O 'Sullivan com petesin alzigl'
                                             zly specialized nichem azket:ne ficialleather.

  Though them arketissm all,O 'Sullivan hasaglobalreach.U niroyalcom peteswith



                                       12
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   O'Sullivantowin thesameclientsforthesameprojects.Andthecourthasalreadyheldthat
   the N oncom pete'sfuncdonallim itatbnsare narrowly drawn to protectO 'Sllllivan against

   N eavesdirectly com peting with O 'Sullivan attheRestticted Contacts.Likein BrainFare,the

   courtholdsthatthe lack ofgeographic scopeisnotfatalgiven the circum scribed scope of

   the funcdonallim itadon and thezeasonable one-yeardtuadon.

         The five casesN eavescitesdo notdictate adifferentoutcom e.'Fhese casesare either

   distinguishableorabrogated byPreferred S stem sSoludons,in which theVitgitlia Suprem e

   Courtheld thatthe fflack ofa specihcgeograpllic lim itadon''wasnotfatalw here a

   noncompetewasffnarrowlydrawnto (a)pardcularprojectandthehandfulofcompaniesin
   directcom peddon with''the em ployer.284 Va.at394,732 S.E.2d at682.SeeA lston

   Smdios Inc.v.Llo dV.Gress& Assocs.,492F.2d279,283(4thCir.1974)(pre-preferreb
   S stem sSoludonscase finding noncom peteinvalid becauseofffitslim itlessgeograpllic

   application,and too-broad encompassmentofacdviéesinwhich gtheemployeejwasnot
   engaged');PowerDistdbution lnc.v.Em er enc PowerEn ' Inc.,569F.Supp.54,58
   (E.D.Va.1983)(pre-preferredS stemsSoludonscaseûndinglackpfgeographiclimitation
   perseunreasonable);Simmonsv.Miller,261Va.561,58/,
                                                   '544S.E.2d666,678(2011)@te-
   Prefeêzed S stem sSolutionscase fm ding noncom peteinvalid because ofTftlze length

   dutaéon oftherestticéon,the expansion ofrestticted funcdons,and thelack ofgeogtaphical

   limitadon');New ltiverM ediaG      Inc.v.1*11hton,245Va.367,370,429 S.E.2d 25,26
   (1993)(upholdingnoncompetewith geographicscopelimited to areasserved by former
   employer);BlueRid eAnesthesia& CtidcalCatev.Gidick,239Va.369,389S.E.2d467
   (1990)(same).


                                       13
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                                        IV . D am ages

          N eaves'D am agesM otion seeksto dismissCount11ofthe Am ended Com plaint,

  whichseeksdamagesandinjunctivereliefforNeaves'bteachoftheNoncompete.Neaves
   clnim sthatCount11m ustbeclism issed forO 'Sllllivan'sfailure to establish act'ualdam ages.

          In pertinentpatt,Count11ofthe Am ended Com pleintprovides:

         48.     Pursuant to Paragraph 10 of the A greem ent, O 'Slzll1
                                                                      'van seeks
         injuncdvereliefpreventingNeavesfrom worldng forUniroyalfora one-year
          period ftom the date ofentry ofa finalO tderin thiscase.In addidon,N eaves
          conductgsicjhasproximately caused O'Sullivan damagesin an amountthat
          exceeds$75,000.
         49. Pursuantto Patagraph 12 ofthis Agreem ent O 'Sullivan also seeks to
         recover its costs and fees to enforce its rights lm der tllis Agreem enta
          anticipatedtoexceed $100,000.
  Am.Compl.!!48-49.
          N eavescontendstherecord dem onstratesthatO 'S''llivan hasn'tindento ed any

   dam agesadsing from N eaves'breach.ln pardculaq N eavespointsto O 'Slxllivan'sRule

   30q$(6)deposidon:
          Q:     Asfaraslossofbusiness,hasO'Sullivan lostanymoney asazesultof
                 M r.N eaves?

         A:      A slsaid previously,1can'ttellyou that.

          Q:     HasO'Slxll:
                           'van lostanyaccountsto UnitoyalasaresultofM.
                                                                      r.Neaves?
                 N o.

   O'Sullivan 304$(6)Dep.39:10-17.
         A sareslzltoftlzistestim ony,N eavesatgtzesthatO 'Sullivan'sffdam agesare

   speculadveand lim ited to the costsincurred in purslning theinstantacdon.'?D ef.'sM em .

   Law Supp.Mot.Summ.J.RegatdingDamagesro amagesM ot.Br.7'),ECFNo.62,at4.


                                       14
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  Consequently,N eavesasksthecol'ttto dismissCount11forlack ofdam ages.Seeida

  Notably,however,NeavesignoresO'Slzllivan'srequestforinjuncdvereliefin CountII.
         O 'Sullivan doesnotdeny thatitisnotendtled to m onetary dam ages,othetthan

  attorney'sfees.Instead,itarguesthatitisendtledtoanitjunctionpreventingNeavesfrom
  w ozldng fozU nizoyalforoneyeatbecause ittfhassuffeted izzeprablehlt.
                                                                      m and hasan

  inadequaterem edy atlaw''- such asffwhen m onetary dam agesaredifficlzltto ascertain or

  areinadequatetocompensate(O'S1111ivan)fortheinjurycausedbyl eaveslbteachofa
  restdcévecovenant.''Pl.'sMem.Opp.Def.'sM ot.Summ.J.RegatdingDnmages,ECF No.
  71,at 1.

        Thefout-elementtestaplnindffmustsadsfybeforeapetmanentitjunctionisissued
  iswellestablished.A plaindffm ustshow:

        (1)thatithassufferedanirreparableinjury;(2)thatremediesavailableatlaw,
        such asmonetary damages,are inadequate to compensate for thatinjury;
        (3)that, considering the balance of hardships between the plaindff and
        defendant,a temedy itl equity is warzanted;and (4)that the public interest
        wouldnotbedisservedbyapermanentitjuncdon.
  eBa Inc.v.MercExchan e L.L.C.,547U.S.388,391(200$.
         O'Sullivan establisheselements(1)and (2)viaParagraph 12 oftheAgreement.Undet
  Virginialaw,itisfçw ell-settled thatpardesto acontractm ay specify the events orpre-

  condidonsthatwilltriggeraparty'srightto recovezfortheothetparty'sbteach ofthei.
                                                                                t

  agreement.''Ulloav.QSP,Inc.,271Va.72,79,624 S.E.2d 43,48(2006).Tllisincludes
  m onetarydamages,asffgnlo statuteorpublicpolicyisim plicated ...thatwould countervail
  the parées'freedom to elim inate dam agesasarequired elem entofabreach ofcontract

  acdon.''1d.;seealso W .Insuladon,L.P.v.M oore,316F.App'x 291,297 (4th Cir.2009).


                                                15
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        In Paragraph 12,the pardesagtee thatO 'Sullivan would notneed to prove actual

  damagesin abreach oftheAgreement,includingtheNoncompete.Agreement! 12
  (allowingabreachofconttactactiontoproceedffwithouttheneedtoproveactual
  damagçs').ThepardesalsoagteethatKftemporaryandpe= anentinjuncdverelief''is
  apptopziate foza breach.UnderVirginialaw,theseptovisionsoftheAgreem entare

  enforceableandsatisfyelements(1)and(2).SeeUlloa,271Va.at79,624S.E.2dat48.
        Elem ent(3),thebalanceofeqtlides,weighsin favorofO'Slnllivan.AstheEastern
  DisttictofVitgl
                'nt
                  'ahasrecentlynotedinthepteliminaryinjuncéoncontext,ffgallthoughitis
  undoubtedlytruethatsubjec% ggaformeremployee)totherestdcdvecovenantmayimpair
  hisabilityto earn aliving,ltheemployerjhasan interestin ptotecdngitscustom etsfrom
  diversion pending tesoludon ofthe case.''U date Inc.v.Sam ilow,311 F.Supp.3d 784,796

  (E.D.Va.2018).Neavesdoesnotsuggestotherwise.Finally,w1t.
                                                         1,1respectto element(4),
  publicpolicyweighsin favorofO'Slxllivan.Virginia1aw certninlyffencouragelsqthe
  enforcementofvalidnon-competeagreementsy''Ldx,and thecourthasalreadyheld thatthe

  N oncom peteisvaid and enforceableunderVirgirlia law .

        ln sum ,the couttholdsthattheN oncom peteisenforceable,N eaveshasbreached

  the N oncom pete,and undertheterm softlze N oncom pete,O 'Se van isendtled to an

  itjuncéonprevendngNeavesfrom conénuedvioladonsoftheNoncompete.
        Thecouu'sholdingsdonot,however,automadcally entailenjoiningNeavesfrom
  w orldng forUnitoyalin gsyposi
                          -    tion.Cf.Am.Compl.!48tffo'sul1ivan seeksinjuncdve
  reliefpreventing N eavesfrom working forU nitoyalfor aone-yearperiod from the date of

  entryofafinalOrderintlaiscase.'').Presumably,thereareotherposidonsatUniroyalthat


                                              16
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  do notcom petewith the BusinessofO 'Sllllivan by using the Restdcted Contacts.

  Accordingly,thecourtwillorderthepartiestoconferandsubmitajointproposed
  permanentinjuncdon nolaterthan fourteen daysafterentryoftheaccompanyingorder.
        M oreover,N eavesdoesnotcontestthatO 'Sllllivan can tecoverattorneys'feesunder

  Paragraph 12'sfee-shifdngprovision.SeeDamagesM ot.Br.4r%tmost,(O'S1111ivan's)
  dnmagesarespectzladveandlimited to thecostsincurredinpursing gsicqtheinstant
  acéon.').ThecotutfindsthatO'Sllllivanisendtled to recoveritsreasonableattorneys'fees
  and costsin thisacdon.O 'Slall1
                                'van m ay subm itam odon forattorneys'feesand costs.

                                      V.    Conclusion

        BecausetheN oncom pete'stem poralscope,funcdonallim itadons,and geograpllic

  scope are narrow ly tailored to N eaves'form erpositbn atO 'Sl'llivan,thecout'tholdsthatthe

  N oncom peteisvalid underVirgml
                               ' 'alaw.M oreover,N eavesdoesnotcontesthe isvioladng

  theN oncom pete.N onetheless,O 'Sullivan hasfailed to prove actualdam ages,and the

  itjuncdvereliefsoughtbyO'Sllllivanisnotnatrowlytailoredtothetermsofthe
  N oncom pete.Accordingly,the O 'Sullivan M otion willbe GRAN TED in partand

  DENIED inpart,theNeavesEnforceabiW ModonwillbeDENIED,andtheNeaves
  D am agesM odon willbe GRAN TED in partand D EN IE D in part.

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                                           M ichaelF.Urbàrfsld                    '-
                                                                                  . ,


                                            ChiefUrzited Sta s strictludge




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